                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF INDIANA
                               INDIANAPOLIS DIVISION

ASHLEY K. EVE, et al.,                             )
                                                   )
              Plaintiffs,                          )
                                                   )
              v.                                   )     No. 1:20-cv-02036-JPH-DML
                                                   )
SUPERINTENDENT, INDIANA STATE                      )
POLICE, in his official capacity,                  )
                                                   )
              Defendant.                           )

                                     Joint Stipulation

       The parties, by their counsel, enter into this Joint Stipulation to fully resolve all

issues in this matter and say:

1.     Plaintiffs have filed this action alleging that the actions of the Indiana State Police

in erecting roadblocks preventing them from engaging in protest activities near the

entrance to the Federal Correction Complex in Terre Haute, Indiana, violate their First

Amendment rights. More specifically, they allege that they were unable to protest on the

public space next to a Dollar General store at the intersection of State Road 63/Prairieton

Road and West Springhill Drive, which is across from the main entrance to the prison.

2.     Defendant does not concede the allegations of plaintiffs’ complaint but is desirous

of resolving this case.

3.     Therefore, in consideration of plaintiffs dismissing their case, without prejudice,

with each party to pay its own costs and attorneys’ fees, the defendant agrees as follows:
                                             [1]
a.    Defendant’s officers and employees will not erect any roadblocks or other

barriers on or around the intersection of State Road 63/Prairieton Road and West

Springhill drive that would prevent plaintiffs and their members from gathering

near and within sight of the entrance to the Federal Correctional Complex in Terre

Haute so that plaintiffs and their members may engage in protest activities prior

and subsequent to the executions that take place within the Federal Correctional

Complex.

b.     Consistent with the above paragraph, the Indiana State Police shall not in

any way obstruct plaintiffs and their members from gathering for their execution-

related protest and vigil activities at the intersection of State Road 63/Prairieton

Road and West Springhill Drive.

c.     This agreement does not prevent defendant’s officers and employees from

erecting barriers immediately in front of or immediately near the entrance to the

Federal Correctional Complex and other structures in the complex, or from taking

other actions if necessary to prevent persons from entering into the prison without

permission of the United States Bureau of Prisons.

d.    This agreement does not prevent defendant’s officers and employees from

taking any and all actions, including roadblocks and other barriers, to handle

emergent situations concerning public safety unrelated to the protests.




                                     [2]
          e.     This agreement does not prevent defendant’s officers and employees from

          addressing situations where persons, including plaintiff and their members, are

          not following the law or are reported to not be following the law.

4.        Plaintiffs and their members agree that they will not hold the Indiana State Police

responsible for any failure to obtain permission to engage in their protest and vigil

activities from the Dollar General store at the intersection of State Road 63/Prairieton

Road and West Springhill Drive or any other property owner.

5.        The parties intend that this document be filed in Court contemporaneous with a

document dismissing this action.

          WHEREFORE, the parties submit their Joint Stipulation.

     Kenneth J. Falk                             /s/ Diana L. Moers
     Gavin M. Rose                               (w/permission)
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